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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re:                                                         Case No. 18-72000 (REG)

 LACOS, INC.,                                                   Chapter 11
 d/b/a BLACK & BLUE
                                                                (Small Business)
                                     Debtor.
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                             ORDER AUTHORIZING THE
                   RETENTION OF SPECIAL COUNSEL TO THE DEBTOR


        Upon the application (the “Application”) of Lacos, Inc., d/b/a Black & Blue (the “Debtor”),

the above-referenced debtor and debtor-in-possession, by and through their counsel, Macco &

Stern, LLP, hereby submits this application (the “Application”) seeking entry of an order

authorizing the employment of Sobel Pevzner, LLC (“Special Counsel”) to represent the Debtor

in civil litigation arising from an insurance loss (ECf Dkt. No. 28); and the annexed declaration of

Curtis Sobel, Esq. (the “Declaration”), dated May 31, 2018 (ECF Dkt. No. 30); and it appearing

that it is necessary for the Debtor to retain such counsel; and it appearing that Special Counsel is

a disinterested person pursuant to section 101(14) of title 11 of the United States Code (the

“Bankruptcy Code”) and does not represent an interest adverse to the Debtor’s estate with respect

to the matters on which Macco & Stern, LLP is to be employed; it is



        ORDERED, that the Application is granted as set forth herein; and it is further


        ORDERED, that the retention of Sobel Pevzner, LLP, as special counsel for the Debtor

to perform all of the services set forth in the Application on the terms set forth in the Application

and the Declaration, is hereby approved pursuant to Bankruptcy Code §327(a), nunc pro tunc
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to the Petition Date; and it is further



        ORDERED, that any compensation to be paid to Special Counsel during the pendency

of the Debtor’s chapter 11 case shall be subject to the approval of this Court upon notice and a

hearing pursuant to Bankruptcy Code §§330 and 331 of the Bankruptcy Code, the Federal Rules

of Bankruptcy Procedure, the Local Bankruptcy Rules and such other procedures as may be fixed

by order of this Court, for professional services rendered and expenses incurred by Special

Counsel; and it is further



        ORDERED, that prior to any increases in Special Counsel’s rates, Special Counsel shall

file a supplemental affidavit with the Court and provide ten business days’ notice to the Debtors,

the United States Trustee and any official committee, which supplemental affidavit shall explain

the basis for the requested rate increases in accordance with Bankruptcy Code §330(a)(3)(F) and

state whether the Debtors have consented to the rate increase; and it is further



        ORDERED, that the United States Trustee retains all rights to object to any rate increase

on all grounds including, but not limited to, the reasonableness standard provided for in

Bankruptcy Code §330, and all rates and rate increases are subject to review by the Court; and it

is further



        ORDERED, that the Court shall retain jurisdiction to hear and determine all matters

arising from the implementation of this Order; and it is further
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       ORDERED, that if there is any inconsistency between the terms of this Order, the

Application, and the Declaration, the terms of this Order shall govern.

No Objection:


s/ Alfred M. Dimino
Office of the United States Trustee




                                                              ____________________________
 Dated: Central Islip, New York                                    Robert E. Grossman
        June 28, 2018                                         United States Bankruptcy Judge
